
Smith, J.
Section 6476, Revised Statutes, provides that unless accompanied with an order to arrest, the summons must be served at *873least three days before the time cf appearance. This was not done in this case.
Scott Bonham, for Plaintiff.
W. L. Avery and Hevbert Jenney, for Defendant.
It is clear that the decisions of the courts of the country on the question whether a judgment so rendered is absolutely void or only erroneous are in direct conflict. We are of the opinion, however, that the weight of authority is that such a judgment is absolutely void, and that such is the tendenoy of the decisions in Ohio, though there is none on the exact question. We think that the decision of the common pleas so holding was right, and the action of the plaintiff will be dismissed.
